     Case 4:22-cv-00359-O Document 33 Filed 01/12/23               Page 1 of 35 PageID 311



                      UNITED STATES DISTRICT COURT
             NORTHERN DISTRICT OF TEXAS – FORT WORTH DIVISION

 TONY JONES                                                §
   Plaintiff,                                              §
                                                           §
 v.                                                        §                   4:22-cv-00359-O
                                                           §
 CITY OF FORT WORTH,                                       §
 EULISES GONZALEZ, and                                     §
 GILBERTO GONZALEZ.                                        §
   Defendants.                                             §

______________________________________________________________________________

            PLAINTIFF’S MOTION FOR ENTRY OF DEFAULT JUDGMENT


TO THE HONORABLE COURT:

        Pursuant to Fed. R. Civ. P. 55, Plaintiff Tony Jones moves this Court for a default final

judgment as to defendants Eulises Gonzalez and Gilberto Gonzalez (“Defendants”), and in support

thereof shows the Court the following:

1.      On April 19, 2022, Plaintiff filed a complaint against Defendants and the City of Fort

Worth. The case was given cause number 048-333132-22 and assigned to the 48th District Court.

2.      On April 25, 2022, the City of Fort Worth removed this action to the present Court, based

on the federal claims concerning due process alleged by Plaintiff and 28 U.S.C. § 1446.

3.      Following service to Defendants, their failure to respond, and the September 28, 2022 entry

of default (Doc. 15), Defendants have filed no response; default judgment remains appropriate

against these parties. Fed. R. Civ. P. 55(a) and (b)(2).

4.      To ensure clarity, Defendants are not in military service, making inapplicable the

Servicemembers' Civil Relief Act (55 U.S.C. app. §521(b)(1)). See supporting affidavits attached

as Exhibit 1 (Eulises Gonzalez) and Exhibit 2 (Gilberto Gonzalez).



4:22-cv-00359-O Motion for Entry of Default Judgment against Eulises and Gilberto Gonzalez   1 of 3
     Case 4:22-cv-00359-O Document 33 Filed 01/12/23               Page 2 of 35 PageID 312



5.      Plaintiff seeks damages for the following causes and amounts, established by the attached

Declaration of Tony Jones, Exhibit 3.

           a. Per Se Defamation in the amount of $25,000,

           b. Trespass to Real Property in the amount of $1000,

           c. Trespass to Personal Property in the amount of $100,000,

           d. Intentional Infliction of Emotional Distress in the amount of $250,000.

6.      Plaintiff also requests attorney fees regarding his claim for Per Se Defamation, in the

amount of $1,919.50, which have been segregated to reflect only that claim, as proved in the

Declaration of Warren V. Norred, Exh. 4.

7.      As the claims against the City of Fort Worth have been dismissed and by the direction of

the Court, Plaintiff now moves the Court to certify the default judgment as a final judgment under

Fed. R. Civ. P. 55(b)(2) and award damages as described.

        WHEREFORE, Plaintiff prays the Court enter default judgment against Eulises Gonzalez

and Gilberto Gonzalez, for economic damages in the amount of $376,000, attorney fees in the

amount of $1,919.50 and all other remedies as appropriate.

                       Submitted on January 12, 2023,

                       /s/ Warren V. Norred
                       Warren V. Norred; State Bar No. 24045094; warren@norredlaw.com
                       NORRED LAW, PLLC
                       515 E. Border St.; Arlington, TX 76010
                       (817) 704-3984 / (817) 524-6686
                       Attorney for Plaintiff

Attached Exhibits:
1 – Affidavit regarding Eulises Gonzalez
2 – Affidavit regarding Gilberto Gonzalez
3 – Declaration of Tony Jones
4 – Declaration of Warren V. Norred (including 4a – Case Time Report)




4:22-cv-00359-O Motion for Entry of Default Judgment against Eulises and Gilberto Gonzalez   2 of 3
  Case 4:22-cv-00359-O Document 33 Filed 01/12/23                  Page 3 of 35 PageID 313



Certificate of Service: I hereby certify that on January 12, 2023, a true and correct copy of the
above and foregoing document was served in accordance with the Federal Rules of Civil Procedure
to the Defendant City of Fort Worth and all parties seeking service in the instant case via the
Court’s ECF system. Notice of this motion has been given to Defendant City of Fort Worth as
shown in the certificate of conference below; no service is required to the Gonzalez Defendants,
as they have failed to appear (see Fed. Rule Civ. Pro. 5(a)(2)).

                                                      /s/Warren V. Norred




4:22-cv-00359-O Motion for Entry of Default Judgment against Eulises and Gilberto Gonzalez   3 of 3
   Case 4:22-cv-00359-O Document 33 Filed 01/12/23                                         Page 4 of 35 PageID 314

                                                     4:22-cv-00359-O
                                           Case No: ____________________
                                    (Print court information exactly as it appears on your Petition)

 Tony Jones                                                                  In the (check one):
 v.                                                                            X District          County             Justice Court of:
 City of Fort Worth, Eulises Gonzalez, and Gilberto Gonzalez                   Tarrant                                  County, Texas

                                              Military Status Affidavit
State of Texas, County of            Tarrant
(Print the name of county where this Affidavit is notarized)


The person who signed this affidavit appeared, in person, before me, the undersigned
notary, and stated under oath:
1. “My name is: Warren Vincent Norred                                                                                                      .
                         First                             Middle                                  Last

2. “The Respondent’s name is:                     Eulises Erubiel Gonzalez                                                                 .
                                               First                Middle                                            Last

3. “I am the Petitioner in this case. I am an adult and of sound mind. I have personal
   knowledge of the facts stated in this affidavit. “The facts stated in this affidavit are true and
   correct.

(Check all boxes that apply)

X “I know that the Respondent is not in the military because I asked the U.S. Department of
      Defense to check their Defense Manpower Data Center (DMDC) database. DMDC notified
      me that the Respondent is not on active duty in any of the armed forces.
      “I attached a true copy of the DMDC verification. (If you check this box, you must attach a copy of the
      DMDC verification. You can print a copy of the DMDC verification from this web address:
      https://www.dmdc.osd.mil/appj/scra/scraHome.do.)

      “I know that the Respondent is not now in the military because:




      “I do not know if the Respondent is in the military now.

                                    ! Do not sign until you are in front of a notary !



          Signature of Person Signing Affidavit                                                           Date

Notary fills out below.
State of Texas, County of ______________________________

Sworn to and subscribed before me, the undersigned notary, on (date)                                             at             a.m./p.m.

by_________________________________________________
   (Print name of person who is signing this Affidavit, NOT the notary’s name.)            Notary’s Signature



PR-DJ-111 Military Status Affidavit (Rev. 11-2015)
© TexasLawHelp.org                                                                                                           Page 1 of 1
Department of Defense
        Case           Manpower Document
               4:22-cv-00359-O  Data Center
                                         33 Filed 01/12/23                                                                                           Results as of : Oct-03-2022 03:19:59 PM
                                                                                                                                       Page 5 of 35 PageID         315
                                                                                                                                                                                         SCRA 5.15




SSN:
Birth Date:                   Dec-XX-1982
Last Name:                    GONZALEZ
First Name:                   EULISES
Middle Name:                  ERUBIEL
Status As Of:                 Oct-03-2022
Certificate ID:               4L6S3TLTKF5YQMM

                                                                               On Active Duty On Active Duty Status Date

           Active Duty Start Date                               Active Duty End Date                                          Status                                 Service Component

                   NA                                                   NA                                                     No                                          NA

                                                     This response reflects the individuals' active duty status based on the Active Duty Status Date




                                                                       Left Active Duty Within 367 Days of Active Duty Status Date

           Active Duty Start Date                               Active Duty End Date                                          Status                                 Service Component

                   NA                                                   NA                                                     No                                          NA

                                        This response reflects where the individual left active duty status within 367 days preceding the Active Duty Status Date




                                                The Member or His/Her Unit Was Notified of a Future Call-Up to Active Duty on Active Duty Status Date

        Order Notification Start Date                       Order Notification End Date                                       Status                                 Service Component

                   NA                                                   NA                                                     No                                          NA

                                           This response reflects whether the individual or his/her unit has received early notification to report for active duty



Upon searching the data banks of the Department of Defense Manpower Data Center, based on the information that you provided, the above is the status of
the individual on the active duty status date as to all branches of the Uniformed Services (Army, Navy, Marine Corps, Air Force, NOAA, Public Health, and
Coast Guard). This status includes information on a Servicemember or his/her unit receiving notification of future orders to report for Active Duty.
HOWEVER, WITHOUT A SOCIAL SECURITY NUMBER, THE DEPARTMENT OF DEFENSE MANPOWER DATA CENTER CANNOT AUTHORITATIVELY
ASSERT THAT THIS IS THE SAME INDIVIDUAL THAT YOUR QUERY REFERS TO. NAME AND DATE OF BIRTH ALONE DO NOT UNIQUELY
IDENTIFY AN INDIVIDUAL.




Michael V. Sorrento, Director
Department of Defense - Manpower Data Center
400 Gigling Rd.
Seaside, CA 93955
               Case 4:22-cv-00359-O
The Defense Manpower                             Document
                     Data Center (DMDC) is an organization         33
                                                              of the      Filed of01/12/23
                                                                     Department        Defense (DoD)Page        6 of the
                                                                                                        that maintains 35Defense
                                                                                                                              PageID        316and Eligibility
                                                                                                                                      Enrollment
Reporting System (DEERS) database which is the official source of data on eligibility for military medical care and other eligibility systems.


The DoD strongly supports the enforcement of the Servicemembers Civil Relief Act (50 USC App. § 3901 et seq, as amended) (SCRA) (formerly known as
the Soldiers' and Sailors' Civil Relief Act of 1940). DMDC has issued hundreds of thousands of "does not possess any information indicating that the
individual is currently on active duty" responses, and has experienced only a small error rate. In the event the individual referenced above, or any family
member, friend, or representative asserts in any manner that the individual was on active duty for the active duty status date, or is otherwise entitled to the
protections of the SCRA, you are strongly encouraged to obtain further verification of the person's status by contacting that person's Service. Service contact
information can be found on the SCRA website's FAQ page (Q35) via this URL: https://scra.dmdc.osd.mil/scra/#/faqs. If you have evidence the person
was on active duty for the active duty status date and you fail to obtain this additional Service verification, punitive provisions of the SCRA may be invoked
against you. See 50 USC App. § 3921(c).


This response reflects the following information: (1) The individual's Active Duty status on the Active Duty Status Date (2) Whether the individual left Active
Duty status within 367 days preceding the Active Duty Status Date (3) Whether the individual or his/her unit received early notification to report for active
duty on the Active Duty Status Date.


More information on "Active Duty Status"
Active duty status as reported in this certificate is defined in accordance with 10 USC § 101(d) (1). Prior to 2010 only some of the active duty periods less
than 30 consecutive days in length were available. In the case of a member of the National Guard, this includes service under a call to active service
authorized by the President or the Secretary of Defense under 32 USC § 502(f) for purposes of responding to a national emergency declared by the
President and supported by Federal funds. All Active Guard Reserve (AGR) members must be assigned against an authorized mobilization position in the
unit they support. This includes Navy Training and Administration of the Reserves (TARs), Marine Corps Active Reserve (ARs) and Coast Guard Reserve
Program Administrator (RPAs). Active Duty status also applies to a Uniformed Service member who is an active duty commissioned officer of the U.S.
Public Health Service or the National Oceanic and Atmospheric Administration (NOAA Commissioned Corps).


Coverage Under the SCRA is Broader in Some Cases
Coverage under the SCRA is broader in some cases and includes some categories of persons on active duty for purposes of the SCRA who would not be
reported as on Active Duty under this certificate. SCRA protections are for Title 10 and Title 14 active duty records for all the Uniformed Services periods.
Title 32 periods of Active Duty are not covered by SCRA, as defined in accordance with 10 USC § 101(d)(1).


Many times orders are amended to extend the period of active duty, which would extend SCRA protections. Persons seeking to rely on this website
certification should check to make sure the orders on which SCRA protections are based have not been amended to extend the inclusive dates of service.
Furthermore, some protections of the SCRA may extend to persons who have received orders to report for active duty or to be inducted, but who have not
actually begun active duty or actually reported for induction. The Last Date on Active Duty entry is important because a number of protections of the SCRA
extend beyond the last dates of active duty.


Those who could rely on this certificate are urged to seek qualified legal counsel to ensure that all rights guaranteed to Service members under the SCRA
are protected


WARNING: This certificate was provided based on a last name, SSN/date of birth, and active duty status date provided by the requester. Providing
erroneous information will cause an erroneous certificate to be provided.
   Case 4:22-cv-00359-O Document 33 Filed 01/12/23                                         Page 7 of 35 PageID 317

                                                     4:22-cv-00359-O
                                           Case No: ____________________
                                    (Print court information exactly as it appears on your Petition)

 Tony Jones                                                                  In the (check one):
 v.                                                                            X District          County             Justice Court of:
 City of Fort Worth, Eulises Gonzalez, and Gilberto Gonzalez                   Tarrant                                  County, Texas

                                              Military Status Affidavit
State of Texas, County of            Tarrant
(Print the name of county where this Affidavit is notarized)


The person who signed this affidavit appeared, in person, before me, the undersigned
notary, and stated under oath:
1. “My name is: Warren Vincent Norred                                                                                                      .
                         First                             Middle                                  Last

2. “The Respondent’s name is:                     Gilberto Gabriel Gonzalez                                                                .
                                               First                Middle                                            Last

3. “I am the Petitioner in this case. I am an adult and of sound mind. I have personal
   knowledge of the facts stated in this affidavit. “The facts stated in this affidavit are true and
   correct.

(Check all boxes that apply)

X “I know that the Respondent is not in the military because I asked the U.S. Department of
      Defense to check their Defense Manpower Data Center (DMDC) database. DMDC notified
      me that the Respondent is not on active duty in any of the armed forces.
      “I attached a true copy of the DMDC verification. (If you check this box, you must attach a copy of the
      DMDC verification. You can print a copy of the DMDC verification from this web address:
      https://www.dmdc.osd.mil/appj/scra/scraHome.do.)

      “I know that the Respondent is not now in the military because:




      “I do not know if the Respondent is in the military now.

                                    ! Do not sign until you are in front of a notary !



          Signature of Person Signing Affidavit                                                           Date

Notary fills out below.
State of Texas, County of ______________________________

Sworn to and subscribed before me, the undersigned notary, on (date)                                             at             a.m./p.m.

by_________________________________________________
   (Print name of person who is signing this Affidavit, NOT the notary’s name.)            Notary’s Signature



PR-DJ-111 Military Status Affidavit (Rev. 11-2015)
© TexasLawHelp.org                                                                                                           Page 1 of 1
Department of Defense
        Case           Manpower Document
               4:22-cv-00359-O  Data Center
                                         33 Filed 01/12/23                                                                                           Results as of : Oct-03-2022 03:21:03 PM
                                                                                                                                       Page 8 of 35 PageID         318
                                                                                                                                                                                         SCRA 5.15




SSN:
Birth Date:                   Aug-XX-1974
Last Name:                    GONZALEZ
First Name:                   GILBERTO
Middle Name:                  GABRIEL
Status As Of:                 Oct-03-2022
Certificate ID:               JK0TC0KT560BJQ2

                                                                               On Active Duty On Active Duty Status Date

           Active Duty Start Date                               Active Duty End Date                                          Status                                 Service Component

                   NA                                                   NA                                                     No                                          NA

                                                     This response reflects the individuals' active duty status based on the Active Duty Status Date




                                                                       Left Active Duty Within 367 Days of Active Duty Status Date

           Active Duty Start Date                               Active Duty End Date                                          Status                                 Service Component

                   NA                                                   NA                                                     No                                          NA

                                        This response reflects where the individual left active duty status within 367 days preceding the Active Duty Status Date




                                                The Member or His/Her Unit Was Notified of a Future Call-Up to Active Duty on Active Duty Status Date

        Order Notification Start Date                       Order Notification End Date                                       Status                                 Service Component

                   NA                                                   NA                                                     No                                          NA

                                           This response reflects whether the individual or his/her unit has received early notification to report for active duty



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400 Gigling Rd.
Seaside, CA 93955
               Case 4:22-cv-00359-O
The Defense Manpower                             Document
                     Data Center (DMDC) is an organization         33
                                                              of the      Filed of01/12/23
                                                                     Department        Defense (DoD)Page        9 of the
                                                                                                        that maintains 35Defense
                                                                                                                              PageID        319and Eligibility
                                                                                                                                      Enrollment
Reporting System (DEERS) database which is the official source of data on eligibility for military medical care and other eligibility systems.


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erroneous information will cause an erroneous certificate to be provided.
Case 4:22-cv-00359-O Document 33 Filed 01/12/23   Page 10 of 35 PageID 320
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                            Declaration of Warren V. Norred
“My name is Warren V. Norred, my date of birth is February 21, 1963, and my office address is
515 E. Border Street, Arlington, TX 76010, U.S. I declare under penalty of perjury that the
foregoing statement is true and correct.


1. I am an attorney and owner of Norred Law, PLLC and licensed to practice law in Texas.
2. I have been practicing law in the DFW area for over a decade and I am familiar with
   reasonable pricing for legal services in the State of Texas.
3. I have previously testified regarding reasonable attorneys’ fees in Texas, in multiple courts,
   and I have litigated in every federal court in Texas and every attached bankruptcy court.
4. I have also litigated in federal courts in California and Kansas, and in the Fifth and Ninth and
   Federal Courts of Appeal.
5. I have tried to verdict more than a dozen trials, the longest of which lasted ten (10) days,
   including jury deliberations. My most complex single federal case was a two-day patent case.
6. Beyond jury trials, I have completed several dozen cases to judgment involving fees.
7. I was retained by Tony Jones to represent him in a suit against the City of Fort Worth,
   Eulises Gonzalez, and Gilberto Gonzalez.
8. As part of my representation, I have filed Plaintiff’s Original Petition and all other
   documents in this case filed for Plaintiff.
9. As of the date of this signing, my team and I have spent approximately 7.4 hours on this case
   in support of the Defamation Per Se claim, for a total billable amount of $1,919.50, which
   includes filing fees and expenses. I have attached Exhibit 4A in support of these fees, which
   includes only segregated and apportioned fees for the defamation per se claim only.


Executed in Tarrant County, State of Texas on December 5, 2022.


                                      /s/
                                      Warren V. Norred
        Case 4:22-cv-00359-O Document 33 Filed 01/12/23 Page 13 of 35 PageID 323
 Time & Expenses for Tony Jones v. City of Fort Worth - 01/01/2021 - 10/17/2022


  Total Billable Flat Fees                  Total Billable Hours                           Total Billable Amount                  Total Billable Expenses

  $0.00                                     71.20 hours                                    $16,535.75                             $1,530.65


          User
                              Billable Flat Fees       Billable Hours       Total Billable Amount           Billable Expenses     Non-Billable Expenses      Non-Billable Hours
                              $0.00                    2.10 hours           $252.00                         $852.39               $0.00                      0.00 hours


Flat Fees


This user has no flat fees for the selected period.

Time Entries


 Date          Activity                            Rate         Duration         Total         Billable   Case Link                            Status     Inner-office Notes

 03/02/2022 Hourly Case Work                       $120.00/hr   1.20             $144.00       Yes        Tony Jones v. City of Fort Worth    Invoiced

               rec.d Arraignment setting, conflicts with                            State's counsel "takes no position" on continuing the date. Draft and file motion to
               continue.

 04/19/2022 Filing Document with Court             $120.00/hr   0.30             $36.00        Yes        Tony Jones v. City of Fort Worth    Invoiced

               Draft Efile envelope, filed petition, request citations                                                                                    $24
 04/26/2022 Hourly Case Work                       $120.00/hr   0.20             $24.00        Yes        Tony Jones v. City of Fort Worth    Invoiced

               City filed for removal to federal court, rec'd and saved removal docs.

 09/27/2022 Hourly Case Work                       $120.00/hr   0.40             $48.00        Yes        Tony Jones v. City of Fort Worth    Invoiced
                                                                                                                                                           $48
               Drafted and filed request for entry of default against Gonzalez defendants.



Expenses


 Date            Activity                   Cost          Quantity       Total           Billable    Case Link                               Status      Inner-office Notes

 04/19/2022      Filing Fee                 $384.81       1.0            $384.81         Yes         Tony Jones v. City of Fort Worth        Invoiced

                 Filing and citation fees                                                                                                     $250 (est. cost of
 04/28/2022      Service of Process         $90.00        1.0            $90.00          Yes         Tony Jones v. City of Fort Worth        Invoiced state filing)

                 Service CFW, Falcon Invoice 36524

 04/28/2022      Service of Process         $135.00       1.0            $135.00         Yes         Tony Jones v. City of Fort Worth        Invoiced
                                                                                                                                                              $135
                 Service Gonzalez Defendants, Falcon Invoice 63567

 06/06/2022      Service Cost               $242.58       1.0            $242.58         Yes         Tony Jones v. City of Fort Worth        Invoiced       $242.58
                 Service of Federal Summons on Gonzalez defendants




          User
                              Billable Flat Fees       Billable Hours       Total Billable Amount           Billable Expenses     Non-Billable Expenses      Non-Billable Hours
                              $0.00                    0.00 hours           $0.00                           $0.00                 $0.00                      0.00 hours


Flat Fees


This user has no flat fees for the selected period.

Time Entries

This user has no time entries for the selected period.
Expenses      Case 4:22-cv-00359-O Document 33 Filed 01/12/23                                                    Page 14 of 35 PageID 324

This user has no expenses for the selected period.




          User
                            Billable Flat Fees        Billable Hours      Total Billable Amount        Billable Expenses    Non-Billable Expenses       Non-Billable Hours
                            $0.00                     0.00 hours          $0.00                        $0.00                $0.00                       0.00 hours


Flat Fees

This user has no flat fees for the selected period.

Time Entries

This user has no time entries for the selected period.

Expenses

This user has no expenses for the selected period.




          User
                              Billable Flat Fees       Billable Hours          Total Billable Amount    Billable Expenses     Non-Billable Expenses      Non-Billable Hours
                              $0.00                    0.00 hours              $0.00                    $0.00                 $0.00                      0.00 hours


Flat Fees

This user has no flat fees for the selected period.

Time Entries

This user has no time entries for the selected period.

Expenses

This user has no expenses for the selected period.




          User
                          Billable Flat Fees       Billable Hours         Total Billable Amount        Billable Expenses    Non-Billable Expenses       Non-Billable Hours
                          $0.00                    26.80 hours            $6,130.00                    $497.42              $0.00                       0.00 hours


Flat Fees

This user has no flat fees for the selected period.

Time Entries


 Date          Activity                                  Rate           Duration      Total     Billable Case Link                          Status     Inner-office Notes

 08/30/2021 Communication - Opposing counsel             $200.00/hr     1.00          $200.00 Yes        Tony Jones v. City of Fort Worth   Invoiced

               Case research and conferring with FW City Attorney regarding status of property.

 08/31/2021 Communication - Opposing counsel             $200.00/hr     2.00          $400.00 Yes        Tony Jones v. City of Fort Worth   Invoiced

               Communication via phone and email with client, code compliance officer Wedell and Fort Worth City attorney Chris Austria in attempt to resolve
               matter.

 09/01/2021 Research                                     $200.00/hr     1.50          $300.00 Yes        Tony Jones v. City of Fort Worth   Invoiced

               Legal research of the Fort Worth city code to determine client's compliance therewith.
Date
            Case
            Activity
                     4:22-cv-00359-O Rate
                                      Document  33 Filed 01/12/23
                                           Duration Total
                                                                          Page 15 of 35 PageID
                                                          Billable Case Link             Status
                                                                                                 325
                                                                                                Inner-office Notes

09/03/2021 Research                                   $200.00/hr   0.40        $80.00   Yes        Tony Jones v. City of Fort Worth   Invoiced

            Further legal research of FW property code, communication with client via phone.

09/17/2021 Research                                   $200.00/hr   1.00        $200.00 Yes         Tony Jones v. City of Fort Worth   Invoiced

            Legal research + conference with warren and consultation with client.                                                                $100
09/30/2021 Draft Document                             $200.00/hr   0.50        $100.00 Yes         Tony Jones v. City of Fort Worth   Invoiced

            Beginning draft of Petition + communication with client via phone.                                                               $100
10/12/2021 Draft Document                             $200.00/hr   2.00        $400.00 Yes         Tony Jones v. City of Fort Worth   Invoiced

            Drafting petition, adding causes of action and researching relevant caselaw.
                                                                                                                                                 $100
10/13/2021 Draft Document                             $200.00/hr   2.50        $500.00 Yes         Tony Jones v. City of Fort Worth   Invoiced

            Drafting petition, continuing to add causes of action and conducting additional legal research.

10/14/2021 Draft Document                             $200.00/hr   0.50        $100.00 Yes         Tony Jones v. City of Fort Worth   Invoiced

            Adding facts section to Original Petition.

11/09/2021 Draft Document                             $250.00/hr   2.00        $500.00 Yes         Tony Jones v. City of Fort Worth   Invoiced

            Working on Petition, phone call w client, performing records request from municipal court and reviewing documents,


11/10/2021 Meeting                                    $250.00/hr   0.50        $125.00 Yes         Tony Jones v. City of Fort Worth   Invoiced

            Meeting with client and reviewing relevant documents/photos in preparation for suit.

12/02/2021 Communication - Court                      $250.00/hr   0.50        $125.00 Yes         Tony Jones v. City of Fort Worth   Invoiced

            Attempting to get citation for discarded items dismissed.

12/06/2021 Communication - Opposing counsel           $250.00/hr   0.50        $125.00 Yes         Tony Jones v. City of Fort Worth   Invoiced

            Conferring with Prosecutor re: dismissal or plea bargain; conferring with client via phone.

12/08/2021 Hearing, Attend.                           $250.00/hr   1.00        $250.00 Yes         Tony Jones v. City of Fort Worth   Invoiced

            Hearing for general complaint citation.

12/09/2021 Hourly Case Work                           $250.00/hr   0.50        $125.00 Yes         Tony Jones v. City of Fort Worth   Invoiced

            Working to get citation issue resolved.

12/13/2021 Phone Call                                 $250.00/hr   0.20        $50.00   Yes        Tony Jones v. City of Fort Worth   Invoiced

            Phone call and case review in attempt to resolve citation issue.

12/14/2021 Hourly Case Work                           $250.00/hr   0.50        $125.00 Yes         Tony Jones v. City of Fort Worth   Invoiced

            Continuing to communicate with prosecutor and client regarding citation and related issues.

12/16/2021 Phone Call                                 $250.00/hr   1.00        $250.00 Yes         Tony Jones v. City of Fort Worth   Invoiced

            Calling code compliance officers to determine status of property, figuring out variance issues.

12/27/2021 Docket                                     $250.00/hr   0.25        $62.50   Yes        Tony Jones v. City of Fort Worth   Invoiced

            Docket preparation.

12/28/2021 Conference                                 $250.00/hr   1.00        $250.00 Yes         Tony Jones v. City of Fort Worth   Invoiced

            Meeting with client and conference w Warren re: open records request.

12/30/2021 Phone Call                                 $250.00/hr   0.10        $25.00   Yes        Tony Jones v. City of Fort Worth   Invoiced

            Call with client.

01/03/2022 Citation Payment                           $250.00/hr   0.25        $62.50   Yes        Tony Jones v. City of Fort Worth   Invoiced

            Paid Citation, pleaded no contest.

01/03/2022 Research                                   $250.00/hr   2.00        $500.00 Yes         Tony Jones v. City of Fort Worth   Invoiced

            Variance application, property research, call with client.

01/04/2022 Record Request                             $250.00/hr   1.50        $375.00 Yes         Tony Jones v. City of Fort Worth   Invoiced

            Compiling and submitting open records requests pertaining to code enforcement activity on 20 properties

01/05/2022 Phone Call                                 $250.00/hr   0.10        $25.00   Yes        Tony Jones v. City of Fort Worth   Invoiced

            Call to code compliance officer Wafer re: variance and inspection.

01/07/2022 Review Document                            $250.00/hr   0.50        $125.00 Yes         Tony Jones v. City of Fort Worth   Invoiced
 Date
              Case
              Activity
                       4:22-cv-00359-O Rate
                                        Document  33 Filed 01/12/23
                                             Duration Total
                                                                            Page 16 of 35 PageID
                                                            Billable Case Link             Status
                                                                                                   326
                                                                                                  Inner-office Notes

               Reviewing public records sent by City of FW.

 01/10/2022 Meeting                                         $250.00/hr   1.00             $250.00 Yes         Tony Jones v. City of Fort Worth    Invoiced

               Client meeting discussing nonconforming properties, reviewing and completing variance application, sending application out. Billing cut from 2.3 hours
               to 1 hour due to decision not to go through with application process.

 01/11/2022 Review Document                                 $250.00/hr   0.50             $125.00 Yes         Tony Jones v. City of Fort Worth    Invoiced

               Reviewing and Organizing Evidence for suit against FW et. al

 01/14/2022 Case Analysis and Development                   $250.00/hr   1.00             $250.00 Yes         Tony Jones v. City of Fort Worth    Invoiced




 01/19/2022 Draft Document                                  $250.00/hr   0.50             $125.00 Yes         Tony Jones v. City of Fort Worth    Invoiced

               Editing Original Petition to reference open records request.



Expenses


 Date          Activity                Cost           Quantity         Total         Billable     Case Link                                Status       Inner-office Notes

 01/03/2022 Citation Payment           $497.42        1.0              $497.42       Yes          Tony Jones v. City of Fort Worth         Invoiced

               Payment of general complaint citation for City of Fort Worth #GA048269 - pleaded no contest as instructed by client. Payment in the amount of
               $497.42 rendered to court.




          User
                            Billable Flat Fees        Billable Hours           Total Billable Amount      Billable Expenses      Non-Billable Expenses       Non-Billable Hours
                            $0.00                     0.00 hours               $0.00                      $0.00                  $0.00                       0.00 hours


Flat Fees


This user has no flat fees for the selected period.

Time Entries


This user has no time entries for the selected period.

Expenses

This user has no expenses for the selected period.




          User
                            Billable Flat Fees        Billable Hours           Total Billable Amount      Billable Expenses      Non-Billable Expenses       Non-Billable Hours
                            $0.00                     0.00 hours               $0.00                      $180.84                $0.00                       0.00 hours


Flat Fees

This user has no flat fees for the selected period.

Time Entries


This user has no time entries for the selected period.

Expenses


 Date            Activity    Cost          Quantity            Total           Billable      Case Link                                   Status        Inner-office Notes

 01/12/2022    Fees          $159.00       1.0                $159.00          Yes           Tony Jones v. City of Fort Worth            Invoiced

               Site Plan from mysiteplan.com
 Date
              Case
              Activity
                       4:22-cv-00359-O
                          Cost   Quantity
                                          Document
                                           Total
                                                    33 Filed
                                                 Billable
                                                               01/12/23
                                                          Case Link
                                                                                                                 Page 17 of 35
                                                                                                                            Status
                                                                                                                                  PageID   327
                                                                                                                                     Inner-office Notes

 03/18/2022    Postage       $21.84        1.0              $21.84        Yes            Tony Jones v. City of Fort Worth          Invoiced
                                                                                                                                                    $21.84
               Demand Letters via regular and CMRRR to: Eulises Gonzales 7021 0950 0002 2998 9931 and Heliodoro Reyes 7021 0950 0002 2998 9924




          User
                             Billable Flat Fees        Billable Hours      Total Billable Amount       Billable Expenses     Non-Billable Expenses       Non-Billable Hours
                             $0.00                     0.00 hours          $0.00                       $0.00                 $0.00                       0.00 hours


Flat Fees


This user has no flat fees for the selected period.

Time Entries


This user has no time entries for the selected period.

Expenses


This user has no expenses for the selected period.




          User
                            Billable Flat Fees        Billable Hours      Total Billable Amount       Billable Expenses     Non-Billable Expenses       Non-Billable Hours
                            $0.00                     0.00 hours          $0.00                       $0.00                 $0.00                       0.00 hours


Flat Fees


This user has no flat fees for the selected period.

Time Entries

This user has no time entries for the selected period.

Expenses


This user has no expenses for the selected period.




          User
                           Billable Flat Fees     Billable Hours          Total Billable Amount       Billable Expenses     Non-Billable Expenses       Non-Billable Hours
                           $0.00                  17.60 hours             $3,520.00                   $0.00                 $0.00                       0.00 hours


Flat Fees


This user has no flat fees for the selected period.

Time Entries


 Date          Activity                 Rate             Duration       Total      Billable     Case Link                             Status        Inner-office Notes

 08/25/2021 Phone Call                  $200.00/hr       0.10           $20.00     Yes          Tony Jones v. City of Fort Worth      Invoiced

               Called to update client. re: status. We are attempting to negotiate with FW City attorney. If no response by end of week, we shall pursue demand
               letter.

 02/25/2022 Research                    $200.00/hr       2.00           $400.00    Yes          Tony Jones v. City of Fort Worth      Invoiced      $200
               Investigated antislapp challenge to pending petition. Petition will need to be amended to include a defamation claim
               Scheduled to discuss recent finding with WN on 02/28

 03/04/2022 Edit Document               $200.00/hr       1.00           $200.00    Yes          Tony Jones v. City of Fort Worth      Invoiced
                                                                                                                                                 $200
Date
           Case
           Activity
                    4:22-cv-00359-O
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                                     Document
                                    Duration Total
                                                   33 Billable
                                                       Filed 01/12/23
                                                               Case Link
                                                                                                            Page 18 of 35Status
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                                                                                                                                 Inner-office Notes

           Amended petition to included defamation claim and facts. MA to call client and clarify date discrepancies. Th to discuss defamation retraction issue re:
           DL

03/09/2022 Demand Letter            $200.00/hr     1.00          $200.00     Yes          Tony Jones v. City of Fort Worth        Invoiced    $200
           New demand letter alleging defamation with malice (basis for code harassment suits in Texas), including demand for retraction.

03/09/2022 Draft Document           $200.00/hr     0.30          $60.00      Yes          Tony Jones v. City of Fort Worth        Invoiced

           Amended petition to include defamation damage law.                                                                          $60
03/15/2022 Review Document          $200.00/hr     0.10          $20.00      Yes          Tony Jones v. City of Fort Worth        Invoiced

           Reviewed arraignment setting notie from City of fort worth

04/19/2022 Conference               $200.00/hr     0.10          $20.00      Yes          Tony Jones v. City of Fort Worth        Invoiced

           Spoke with MA and WN re: petition status. Its ready to file. MA to file.

04/21/2022 Review Document          $200.00/hr     0.20          $40.00      Yes          Tony Jones v. City of Fort Worth        Invoiced

           Reviewed Def's Answer. Based on affirmative defenses, it looks like they plan to file a ptj.

04/28/2022 Review Document          $200.00/hr     0.10          $20.00      Yes          Tony Jones v. City of Fort Worth        Invoiced

           Reviewed Federal Court's Order Requiring Scheduling Conference and report for Contest of scheduling Order. MA to set up conference with counsel
           for City, but no counsel has appeared for the defamers yet. Conference and prop scheudling order due on May 12

05/09/2022 Discovery                $200.00/hr     0.20          $40.00      Yes          Tony Jones v. City of Fort Worth        Invoiced

           Drafted initial disclosures. Passed to KF to add addresses and grammar check.

05/13/2022 Case Status Check        $200.00/hr     0.10          $20.00      Yes          Tony Jones v. City of Fort Worth        Invoiced

           Need to draft joint status report

05/16/2022 Case Status Check        $200.00/hr     0.10          $20.00      Yes          Tony Jones v. City of Fort Worth        Invoiced

           Joint status report from other side has been signed off on.

05/25/2022 Case Status Check        $200.00/hr     0.10          $20.00      Yes          Tony Jones v. City of Fort Worth        Invoiced

           TH to draft discovery.

06/16/2022 Conference               $200.00/hr     0.30          $60.00      Yes          Tony Jones v. City of Fort Worth        Invoiced

           MA updated TH on citations.                                             MA has reminded client
                         TH to revised with WN on 6/20

06/20/2022 Case Status Check        $200.00/hr     0.20          $40.00      Yes          Tony Jones v. City of Fort Worth        Invoiced

           Updated WN on case status. Need discovery. TH to offload drafting to ER.

06/22/2022 Conference               $200.00/hr     0.30          $60.00      Yes          Tony Jones v. City of Fort Worth        Invoiced

           TH briefed ER re: discovery

07/13/2022 Hourly Case Work         $200.00/hr     0.50          $100.00     Yes          Tony Jones v. City of Fort Worth        Invoiced

           Reviewed citation status and conferred with WN about talking to OC and client about negotiated settlement with Fort Worth and focusing on neighbors.

07/14/2022 Discovery                $200.00/hr     1.00          $200.00     Yes          Tony Jones v. City of Fort Worth        Invoiced

           Reviewed responsive docs from City in anticipation of meting with client tomorrow. Also review miscellaneous folder.

07/15/2022 Meeting                  $200.00/hr     0.90          $180.00     Yes          Tony Jones v. City of Fort Worth        Invoiced

           Met with Client

07/18/2022 Phone Call               $200.00/hr     0.10          $20.00      Yes          Tony Jones v. City of Fort Worth        Invoiced

           Discussed documents client is bringing over and family connections between private parties and code compliance.

07/18/2022 Phone Call               $200.00/hr     0.10          $20.00      Yes          Tony Jones v. City of Fort Worth        Invoiced

           TH spoke with client.



           TH and WN conferred. WN to talk to OC


07/29/2022 Research                 $200.00/hr     3.00          $600.00     Yes          Tony Jones v. City of Fort Worth        Invoiced

           Researched and drafted an argument on probable cause per the client's request from the meeting.

08/11/2022 Case Status Check        $200.00/hr     0.30          $60.00      Yes          Tony Jones v. City of Fort Worth        Invoiced

                                                                           WN to talk to client and then to OC re: settelment. If no progress on those fronts need
           discovery.
 Date
              Case
              Activity
                       4:22-cv-00359-O
                                Rate
                                        Document
                                       Duration Total
                                                      33 Billable
                                                          Filed 01/12/23
                                                                  Case Link
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                                                                                                                                   Inner-office Notes

 08/29/2022 Conference                  $200.00/hr       0.30          $60.00      Yes       Tony Jones v. City of Fort Worth       Invoiced

                                                                         TH to draft discovery on FW. GH to draft DJs against both individual defendants.

 09/08/2022 Review Document             $200.00/hr       0.40          $80.00      Yes       Tony Jones v. City of Fort Worth       Invoiced

               Reviewed Motion to dismiss filed by OC.

 09/12/2022 Conference                  $200.00/hr       0.20          $40.00      Yes       Tony Jones v. City of Fort Worth       Invoiced

               TH conferred with WN. SN to start 12b6 and pass to TH when SN leaves on vacation.

 09/15/2022 Case Status Check           $200.00/hr       0.10          $20.00      Yes       Tony Jones v. City of Fort Worth       Invoiced

               The client says that his neighbor,
                                                                   WN to call client.

 09/16/2022 Draft Document              $200.00/hr       1.00          $200.00     Yes       Tony Jones v. City of Fort Worth       Invoiced

               Draft default judgment. Need to confer with WN.                                                                      $200
 09/21/2022 Case Status Check           $200.00/hr       0.10          $20.00      Yes       Tony Jones v. City of Fort Worth       Invoiced

               Confirmed SN still on 12b6 response.

 09/26/2022 Case Status Check           $200.00/hr       0.20          $40.00      Yes       Tony Jones v. City of Fort Worth       Invoiced

               KF drafting expert designations for WN to file. TH working on DJ and SN working on 12b6 response.

 09/26/2022 Review Document             $200.00/hr       0.10          $20.00      Yes       Tony Jones v. City of Fort Worth       Invoiced

               Reviewed expert designation and passed to WN.

 09/28/2022 Edit Document               $200.00/hr       1.00          $200.00     Yes       Tony Jones v. City of Fort Worth       Invoiced

               Sanity check 12b6 response

 10/04/2022 Draft Document              $200.00/hr       0.50          $100.00     Yes       Tony Jones v. City of Fort Worth       Invoiced

               Drafted Motion for leave to amend.

 10/05/2022 Case Status Check           $200.00/hr       0.20          $40.00      Yes       Tony Jones v. City of Fort Worth       Invoiced

               Need to file motion for leave to amend. Also need to settle on a mediator. MA on mediator.

 10/10/2022 Case Status Check           $200.00/hr       0.10          $20.00      Yes       Tony Jones v. City of Fort Worth       Invoiced

               12b6 response and amended complaint have been filed. Waiting on FW's next move.

 10/12/2022 Review Document             $200.00/hr       0.10          $20.00      Yes       Tony Jones v. City of Fort Worth       Invoiced

               Reviewed amended 12b6 response filed by FW. MA to calendar resposne date.

 10/12/2022 Draft Document              $200.00/hr       1.00          $200.00     Yes       Tony Jones v. City of Fort Worth       Invoiced

               Began drafting response to City's amended 12b6. Drafted full response under class of one issue, but need to finish due process defense.



Expenses


This user has no expenses for the selected period.




          User
                            Billable Flat Fees        Billable Hours     Total Billable Amount    Billable Expenses      Non-Billable Expenses       Non-Billable Hours
                            $0.00                     0.00 hours         $0.00                    $0.00                  $0.00                       0.00 hours


Flat Fees

This user has no flat fees for the selected period.

Time Entries


This user has no time entries for the selected period.

Expenses


This user has no expenses for the selected period.
              Case 4:22-cv-00359-O Document 33 Filed 01/12/23                                              Page 20 of 35 PageID 330

          User
                            Billable Flat Fees        Billable Hours    Total Billable Amount    Billable Expenses    Non-Billable Expenses    Non-Billable Hours
                            $0.00                     0.00 hours        $0.00                    $0.00                $0.00                    0.00 hours


Flat Fees

This user has no flat fees for the selected period.

Time Entries

This user has no time entries for the selected period.

Expenses

This user has no expenses for the selected period.




          User
                              Billable Flat Fees       Billable Hours    Total Billable Amount    Billable Expenses    Non-Billable Expenses    Non-Billable Hours
                              $0.00                    0.00 hours        $0.00                    $0.00                $0.00                    0.00 hours


Flat Fees

This user has no flat fees for the selected period.

Time Entries

This user has no time entries for the selected period.

Expenses

This user has no expenses for the selected period.




          User
                            Billable Flat Fees        Billable Hours    Total Billable Amount    Billable Expenses    Non-Billable Expenses    Non-Billable Hours
                            $0.00                     0.00 hours        $0.00                    $0.00                $0.00                    0.00 hours


Flat Fees

This user has no flat fees for the selected period.

Time Entries

This user has no time entries for the selected period.

Expenses

This user has no expenses for the selected period.




          User
                            Billable Flat Fees        Billable Hours     Total Billable Amount    Billable Expenses    Non-Billable Expenses    Non-Billable Hours
                            $0.00                     14.20 hours        $2,840.00                $0.00                $0.00                    0.00 hours


Flat Fees
              Case 4:22-cv-00359-O Document 33 Filed 01/12/23
This user has no flat fees for the selected period.                                                               Page 21 of 35 PageID 331
Time Entries


 Date          Activity               Rate             Duration        Total       Billable     Case Link                              Status       Inner-office Notes

 09/12/2022 Research                  $200.00/hr       3.00            $600.00     Yes          Tony Jones v. City of Fort Worth       Invoiced

               Read pleadings and evidence, listened to recordings, scanned through emails

 09/14/2022 Draft Document            $200.00/hr       3.20            $640.00     Yes          Tony Jones v. City of Fort Worth       Invoiced

               Began draft of response, described property, began shell defenses on claims, mostly 4th amendment search's claims and citation work to set up 14th
               amendment claim bolstering

 09/27/2022 Draft Document            $200.00/hr       4.00            $800.00     Yes          Tony Jones v. City of Fort Worth       Invoiced

               Talk to W regarding drafts, finish up 4th amendment case law search, review 12b6 again, begin drafting amended complaint and revising 12b6
               response

 09/28/2022 Draft Document            $200.00/hr       4.00            $800.00     Yes          Tony Jones v. City of Fort Worth       Invoiced

               Finish drafting 12b6 response and amended complaint



Expenses


This user has no expenses for the selected period.




          User
                              Billable Flat Fees      Billable Hours       Total Billable Amount       Billable Expenses      Non-Billable Expenses      Non-Billable Hours
                              $0.00                   7.00 hours           $3,093.75                   $0.00                  $0.00                      0.00 hours


Flat Fees

This user has no flat fees for the selected period.

Time Entries


 Date            Activity                 Rate            Duration       Total           Billable   Case Link                            Status       Inner-office Notes

 04/19/2022      Draft Petition          $425.00/hr       0.75           $318.75         Yes        Tony Jones v. City of Fort Worth     Invoiced

                 Revise and last review of petitoin.

 04/20/2022      Hearing, Attend.        $425.00/hr       1.50           $637.50         Yes        Tony Jones v. City of Fort Worth     Invoiced

                 Arraignment hearing

 08/30/2022      Phone Call              $450.00/hr       0.25           $112.50         Yes        Tony Jones v. City of Fort Worth     Invoiced

                 Phone discussing injunction and inspection.

 08/30/2022      Email                   $450.00/hr       0.20           $90.00          Yes        Tony Jones v. City of Fort Worth     Invoiced

                 Email to OC;

 09/27/2022      Review Document         $450.00/hr       0.30           $135.00         Yes        Tony Jones v. City of Fort Worth     Invoiced

                 Reviewed and filed designation of experts. Reviewed and approved App for Entry of Default. MEA to file.

 09/28/2022      Draft Response          $450.00/hr       2.75           $1,237.50       Yes        Tony Jones v. City of Fort Worth     Invoiced

                 Review and revise response and complaint, file.

 10/04/2022      Draft Motion            $450.00/hr       1.25           $562.50         Yes        Tony Jones v. City of Fort Worth     Invoiced

                 Reviewed and revised motion to amend, email with nonopposition by KL.



Expenses


This user has no expenses for the selected period.
              Case 4:22-cv-00359-O Document 33 Filed 01/12/23                                                Page 22 of 35 PageID 332
          User
                            Billable Flat Fees        Billable Hours     Total Billable Amount    Billable Expenses      Non-Billable Expenses       Non-Billable Hours
                            $0.00                     0.00 hours         $0.00                    $0.00                  $0.00                       0.00 hours


Flat Fees

This user has no flat fees for the selected period.

Time Entries

This user has no time entries for the selected period.

Expenses

This user has no expenses for the selected period.




          User
                            Billable Flat Fees        Billable Hours     Total Billable Amount    Billable Expenses      Non-Billable Expenses       Non-Billable Hours
                            $0.00                     3.50 hours         $700.00                  $0.00                  $0.00                       0.00 hours


Flat Fees


This user has no flat fees for the selected period.

Time Entries


 Date          Activity                Rate              Duration      Total     Billable    Case Link                             Status        Inner-office Notes

 06/22/2022 Hourly Case Work           $200.00/hr        1.50          $300.00   Yes         Tony Jones v. City of Fort Worth      Invoiced

               Discovery Requests drafted in light of information gleaned from the City's responsive documents re our Open Records Requests. Conferred with WVN
               re requesting responsive documents sans redactions.

 06/24/2022 Draft Document             $200.00/hr        1.00          $200.00   Yes         Tony Jones v. City of Fort Worth      Invoiced

               Discovery Requests for Admission drafted regarding Defendant Gilberto Gonzalez's interactions and communications with Defendant City of Fort
               Worth leading up to and during circumstances giving rise to suit.
                                                                                                                                     $100
 06/24/2022 Draft Document             $200.00/hr        1.00          $200.00   Yes         Tony Jones v. City of Fort Worth      Invoiced

               Discovery Requests for Admission drafted regarding Defendant Eulises Gonzalez's interactions and communications with Defendant City of Fort Worth
               leading up to and during circumstances giving rise to suit.
                                                                                                                                     $100

Expenses

This user has no expenses for the selected period.




          User
                            Billable Flat Fees        Billable Hours     Total Billable Amount    Billable Expenses      Non-Billable Expenses       Non-Billable Hours
                            $0.00                     0.00 hours         $0.00                    $0.00                  $32.16                      0.00 hours


Flat Fees


This user has no flat fees for the selected period.

Time Entries

This user has no time entries for the selected period.

Expenses
Date
           Case
           Activity
                    4:22-cv-00359-O
                       Cost  Quantity
                                      Document
                                      Total
                                                  33 Filed
                                            Billable
                                                            01/12/23
                                                     Case Link
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                                                                                                               35 PageID     333
                                                                                                                      Inner-office Notes

09/10/2021 Postage      $32.16     1.0            $32.16     No           Tony Jones v. City of Fort Worth            Invoiced
                                                                                                                                         $16.08
           Demand Letter sent to Christopher Austria Assistant City Attorney City Attorneyâ€™s Office 200 Texas St. Fort Worth, TX 76102 Via Regular Mail and
           Certified Mail Return Receipt Requested CMRRR No. 7020 1290 0000 2470 7368 Christopher.austria@fortworthtexas.gov Eulises Gonzales 4312 Ave
           H. Fort Worth, TX 76105 Via Regular Mail and Certified Mail Return Receipt Requested CMRRR No. 7020 1290 0000 2470 7351 Heliodoro Reyes
           4328 Ave H. Fort Worth, TX 76105 Via Regular Mail and Certified Mail Return Receipt Requested CMRRR No. 7020 1290 0000 2470 7375
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                            Declaration of Warren V. Norred
“My name is Warren V. Norred, my date of birth is February 21, 1963, and my office address is
515 E. Border Street, Arlington, TX 76010, U.S. I declare under penalty of perjury that the
foregoing statement is true and correct.


1. I am an attorney and owner of Norred Law, PLLC and licensed to practice law in Texas.
2. I have been practicing law in the DFW area for over a decade and I am familiar with
   reasonable pricing for legal services in the State of Texas.
3. I have previously testified regarding reasonable attorneys’ fees in Texas, in multiple courts,
   and I have litigated in every federal court in Texas and every attached bankruptcy court.
4. I have also litigated in federal courts in California and Kansas, and in the Fifth and Ninth and
   Federal Courts of Appeal.
5. I have tried to verdict more than a dozen trials, the longest of which lasted ten (10) days,
   including jury deliberations. My most complex single federal case was a two-day patent case.
6. Beyond jury trials, I have completed several dozen cases to judgment involving fees.
7. I was retained by Tony Jones to represent him in a suit against the City of Fort Worth,
   Eulises Gonzalez, and Gilberto Gonzalez.
8. As part of my representation, I have filed Plaintiff’s Original Petition and all other
   documents in this case filed for Plaintiff.
9. As of the date of this signing, my team and I have spent approximately 7.4 hours on this case
   in support of the Defamation Per Se claim, for a total billable amount of $1,919.50, which
   includes filing fees and expenses. I have attached Exhibit 4A in support of these fees, which
   includes only segregated and apportioned fees for the defamation per se claim only.


Executed in Tarrant County, State of Texas on December 5, 2022.


                                      /s/
                                      Warren V. Norred
        Case 4:22-cv-00359-O Document 33 Filed 01/12/23 Page 25 of 35 PageID 335
 Time & Expenses for Tony Jones v. City of Fort Worth - 01/01/2021 - 10/17/2022


  Total Billable Flat Fees                  Total Billable Hours                           Total Billable Amount                  Total Billable Expenses

  $0.00                                     71.20 hours                                    $16,535.75                             $1,530.65


          User
                              Billable Flat Fees       Billable Hours       Total Billable Amount           Billable Expenses     Non-Billable Expenses      Non-Billable Hours
                              $0.00                    2.10 hours           $252.00                         $852.39               $0.00                      0.00 hours


Flat Fees


This user has no flat fees for the selected period.

Time Entries


 Date          Activity                            Rate         Duration         Total         Billable   Case Link                            Status     Inner-office Notes

 03/02/2022 Hourly Case Work                       $120.00/hr   1.20             $144.00       Yes        Tony Jones v. City of Fort Worth    Invoiced

               rec.d Arraignment setting, conflicts with                            State's counsel "takes no position" on continuing the date. Draft and file motion to
               continue.

 04/19/2022 Filing Document with Court             $120.00/hr   0.30             $36.00        Yes        Tony Jones v. City of Fort Worth    Invoiced

               Draft Efile envelope, filed petition, request citations                                                                                    $24
 04/26/2022 Hourly Case Work                       $120.00/hr   0.20             $24.00        Yes        Tony Jones v. City of Fort Worth    Invoiced

               City filed for removal to federal court, rec'd and saved removal docs.

 09/27/2022 Hourly Case Work                       $120.00/hr   0.40             $48.00        Yes        Tony Jones v. City of Fort Worth    Invoiced
                                                                                                                                                           $48
               Drafted and filed request for entry of default against Gonzalez defendants.



Expenses


 Date            Activity                   Cost          Quantity       Total           Billable    Case Link                               Status      Inner-office Notes

 04/19/2022      Filing Fee                 $384.81       1.0            $384.81         Yes         Tony Jones v. City of Fort Worth        Invoiced

                 Filing and citation fees                                                                                                     $250 (est. cost of
 04/28/2022      Service of Process         $90.00        1.0            $90.00          Yes         Tony Jones v. City of Fort Worth        Invoiced state filing)

                 Service CFW, Falcon Invoice 36524

 04/28/2022      Service of Process         $135.00       1.0            $135.00         Yes         Tony Jones v. City of Fort Worth        Invoiced
                                                                                                                                                              $135
                 Service Gonzalez Defendants, Falcon Invoice 63567

 06/06/2022      Service Cost               $242.58       1.0            $242.58         Yes         Tony Jones v. City of Fort Worth        Invoiced       $242.58
                 Service of Federal Summons on Gonzalez defendants




          User
                              Billable Flat Fees       Billable Hours       Total Billable Amount           Billable Expenses     Non-Billable Expenses      Non-Billable Hours
                              $0.00                    0.00 hours           $0.00                           $0.00                 $0.00                      0.00 hours


Flat Fees


This user has no flat fees for the selected period.

Time Entries

This user has no time entries for the selected period.
Expenses      Case 4:22-cv-00359-O Document 33 Filed 01/12/23                                                    Page 26 of 35 PageID 336

This user has no expenses for the selected period.




          User
                            Billable Flat Fees        Billable Hours      Total Billable Amount        Billable Expenses    Non-Billable Expenses       Non-Billable Hours
                            $0.00                     0.00 hours          $0.00                        $0.00                $0.00                       0.00 hours


Flat Fees

This user has no flat fees for the selected period.

Time Entries

This user has no time entries for the selected period.

Expenses

This user has no expenses for the selected period.




          User
                              Billable Flat Fees       Billable Hours          Total Billable Amount    Billable Expenses     Non-Billable Expenses      Non-Billable Hours
                              $0.00                    0.00 hours              $0.00                    $0.00                 $0.00                      0.00 hours


Flat Fees

This user has no flat fees for the selected period.

Time Entries

This user has no time entries for the selected period.

Expenses

This user has no expenses for the selected period.




          User
                          Billable Flat Fees       Billable Hours         Total Billable Amount        Billable Expenses    Non-Billable Expenses       Non-Billable Hours
                          $0.00                    26.80 hours            $6,130.00                    $497.42              $0.00                       0.00 hours


Flat Fees

This user has no flat fees for the selected period.

Time Entries


 Date          Activity                                  Rate           Duration      Total     Billable Case Link                          Status     Inner-office Notes

 08/30/2021 Communication - Opposing counsel             $200.00/hr     1.00          $200.00 Yes        Tony Jones v. City of Fort Worth   Invoiced

               Case research and conferring with FW City Attorney regarding status of property.

 08/31/2021 Communication - Opposing counsel             $200.00/hr     2.00          $400.00 Yes        Tony Jones v. City of Fort Worth   Invoiced

               Communication via phone and email with client, code compliance officer Wedell and Fort Worth City attorney Chris Austria in attempt to resolve
               matter.

 09/01/2021 Research                                     $200.00/hr     1.50          $300.00 Yes        Tony Jones v. City of Fort Worth   Invoiced

               Legal research of the Fort Worth city code to determine client's compliance therewith.
Date
            Case
            Activity
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                                                          Billable Case Link             Status
                                                                                                 337
                                                                                                Inner-office Notes

09/03/2021 Research                                   $200.00/hr   0.40        $80.00   Yes        Tony Jones v. City of Fort Worth   Invoiced

            Further legal research of FW property code, communication with client via phone.

09/17/2021 Research                                   $200.00/hr   1.00        $200.00 Yes         Tony Jones v. City of Fort Worth   Invoiced

            Legal research + conference with warren and consultation with client.                                                                $100
09/30/2021 Draft Document                             $200.00/hr   0.50        $100.00 Yes         Tony Jones v. City of Fort Worth   Invoiced

            Beginning draft of Petition + communication with client via phone.                                                               $100
10/12/2021 Draft Document                             $200.00/hr   2.00        $400.00 Yes         Tony Jones v. City of Fort Worth   Invoiced

            Drafting petition, adding causes of action and researching relevant caselaw.
                                                                                                                                                 $100
10/13/2021 Draft Document                             $200.00/hr   2.50        $500.00 Yes         Tony Jones v. City of Fort Worth   Invoiced

            Drafting petition, continuing to add causes of action and conducting additional legal research.

10/14/2021 Draft Document                             $200.00/hr   0.50        $100.00 Yes         Tony Jones v. City of Fort Worth   Invoiced

            Adding facts section to Original Petition.

11/09/2021 Draft Document                             $250.00/hr   2.00        $500.00 Yes         Tony Jones v. City of Fort Worth   Invoiced

            Working on Petition, phone call w client, performing records request from municipal court and reviewing documents,


11/10/2021 Meeting                                    $250.00/hr   0.50        $125.00 Yes         Tony Jones v. City of Fort Worth   Invoiced

            Meeting with client and reviewing relevant documents/photos in preparation for suit.

12/02/2021 Communication - Court                      $250.00/hr   0.50        $125.00 Yes         Tony Jones v. City of Fort Worth   Invoiced

            Attempting to get citation for discarded items dismissed.

12/06/2021 Communication - Opposing counsel           $250.00/hr   0.50        $125.00 Yes         Tony Jones v. City of Fort Worth   Invoiced

            Conferring with Prosecutor re: dismissal or plea bargain; conferring with client via phone.

12/08/2021 Hearing, Attend.                           $250.00/hr   1.00        $250.00 Yes         Tony Jones v. City of Fort Worth   Invoiced

            Hearing for general complaint citation.

12/09/2021 Hourly Case Work                           $250.00/hr   0.50        $125.00 Yes         Tony Jones v. City of Fort Worth   Invoiced

            Working to get citation issue resolved.

12/13/2021 Phone Call                                 $250.00/hr   0.20        $50.00   Yes        Tony Jones v. City of Fort Worth   Invoiced

            Phone call and case review in attempt to resolve citation issue.

12/14/2021 Hourly Case Work                           $250.00/hr   0.50        $125.00 Yes         Tony Jones v. City of Fort Worth   Invoiced

            Continuing to communicate with prosecutor and client regarding citation and related issues.

12/16/2021 Phone Call                                 $250.00/hr   1.00        $250.00 Yes         Tony Jones v. City of Fort Worth   Invoiced

            Calling code compliance officers to determine status of property, figuring out variance issues.

12/27/2021 Docket                                     $250.00/hr   0.25        $62.50   Yes        Tony Jones v. City of Fort Worth   Invoiced

            Docket preparation.

12/28/2021 Conference                                 $250.00/hr   1.00        $250.00 Yes         Tony Jones v. City of Fort Worth   Invoiced

            Meeting with client and conference w Warren re: open records request.

12/30/2021 Phone Call                                 $250.00/hr   0.10        $25.00   Yes        Tony Jones v. City of Fort Worth   Invoiced

            Call with client.

01/03/2022 Citation Payment                           $250.00/hr   0.25        $62.50   Yes        Tony Jones v. City of Fort Worth   Invoiced

            Paid Citation, pleaded no contest.

01/03/2022 Research                                   $250.00/hr   2.00        $500.00 Yes         Tony Jones v. City of Fort Worth   Invoiced

            Variance application, property research, call with client.

01/04/2022 Record Request                             $250.00/hr   1.50        $375.00 Yes         Tony Jones v. City of Fort Worth   Invoiced

            Compiling and submitting open records requests pertaining to code enforcement activity on 20 properties

01/05/2022 Phone Call                                 $250.00/hr   0.10        $25.00   Yes        Tony Jones v. City of Fort Worth   Invoiced

            Call to code compliance officer Wafer re: variance and inspection.

01/07/2022 Review Document                            $250.00/hr   0.50        $125.00 Yes         Tony Jones v. City of Fort Worth   Invoiced
 Date
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                                                                                                  Inner-office Notes

               Reviewing public records sent by City of FW.

 01/10/2022 Meeting                                         $250.00/hr   1.00             $250.00 Yes         Tony Jones v. City of Fort Worth    Invoiced

               Client meeting discussing nonconforming properties, reviewing and completing variance application, sending application out. Billing cut from 2.3 hours
               to 1 hour due to decision not to go through with application process.

 01/11/2022 Review Document                                 $250.00/hr   0.50             $125.00 Yes         Tony Jones v. City of Fort Worth    Invoiced

               Reviewing and Organizing Evidence for suit against FW et. al

 01/14/2022 Case Analysis and Development                   $250.00/hr   1.00             $250.00 Yes         Tony Jones v. City of Fort Worth    Invoiced




 01/19/2022 Draft Document                                  $250.00/hr   0.50             $125.00 Yes         Tony Jones v. City of Fort Worth    Invoiced

               Editing Original Petition to reference open records request.



Expenses


 Date          Activity                Cost           Quantity         Total         Billable     Case Link                                Status       Inner-office Notes

 01/03/2022 Citation Payment           $497.42        1.0              $497.42       Yes          Tony Jones v. City of Fort Worth         Invoiced

               Payment of general complaint citation for City of Fort Worth #GA048269 - pleaded no contest as instructed by client. Payment in the amount of
               $497.42 rendered to court.




          User
                            Billable Flat Fees        Billable Hours           Total Billable Amount      Billable Expenses      Non-Billable Expenses       Non-Billable Hours
                            $0.00                     0.00 hours               $0.00                      $0.00                  $0.00                       0.00 hours


Flat Fees


This user has no flat fees for the selected period.

Time Entries


This user has no time entries for the selected period.

Expenses

This user has no expenses for the selected period.




          User
                            Billable Flat Fees        Billable Hours           Total Billable Amount      Billable Expenses      Non-Billable Expenses       Non-Billable Hours
                            $0.00                     0.00 hours               $0.00                      $180.84                $0.00                       0.00 hours


Flat Fees

This user has no flat fees for the selected period.

Time Entries


This user has no time entries for the selected period.

Expenses


 Date            Activity    Cost          Quantity            Total           Billable      Case Link                                   Status        Inner-office Notes

 01/12/2022    Fees          $159.00       1.0                $159.00          Yes           Tony Jones v. City of Fort Worth            Invoiced

               Site Plan from mysiteplan.com
 Date
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              Activity
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                          Cost   Quantity
                                          Document
                                           Total
                                                    33 Filed
                                                 Billable
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 03/18/2022    Postage       $21.84        1.0              $21.84        Yes            Tony Jones v. City of Fort Worth          Invoiced
                                                                                                                                                    $21.84
               Demand Letters via regular and CMRRR to: Eulises Gonzales 7021 0950 0002 2998 9931 and Heliodoro Reyes 7021 0950 0002 2998 9924




          User
                             Billable Flat Fees        Billable Hours      Total Billable Amount       Billable Expenses     Non-Billable Expenses       Non-Billable Hours
                             $0.00                     0.00 hours          $0.00                       $0.00                 $0.00                       0.00 hours


Flat Fees


This user has no flat fees for the selected period.

Time Entries


This user has no time entries for the selected period.

Expenses


This user has no expenses for the selected period.




          User
                            Billable Flat Fees        Billable Hours      Total Billable Amount       Billable Expenses     Non-Billable Expenses       Non-Billable Hours
                            $0.00                     0.00 hours          $0.00                       $0.00                 $0.00                       0.00 hours


Flat Fees


This user has no flat fees for the selected period.

Time Entries

This user has no time entries for the selected period.

Expenses


This user has no expenses for the selected period.




          User
                           Billable Flat Fees     Billable Hours          Total Billable Amount       Billable Expenses     Non-Billable Expenses       Non-Billable Hours
                           $0.00                  17.60 hours             $3,520.00                   $0.00                 $0.00                       0.00 hours


Flat Fees


This user has no flat fees for the selected period.

Time Entries


 Date          Activity                 Rate             Duration       Total      Billable     Case Link                             Status        Inner-office Notes

 08/25/2021 Phone Call                  $200.00/hr       0.10           $20.00     Yes          Tony Jones v. City of Fort Worth      Invoiced

               Called to update client. re: status. We are attempting to negotiate with FW City attorney. If no response by end of week, we shall pursue demand
               letter.

 02/25/2022 Research                    $200.00/hr       2.00           $400.00    Yes          Tony Jones v. City of Fort Worth      Invoiced      $200
               Investigated antislapp challenge to pending petition. Petition will need to be amended to include a defamation claim
               Scheduled to discuss recent finding with WN on 02/28

 03/04/2022 Edit Document               $200.00/hr       1.00           $200.00    Yes          Tony Jones v. City of Fort Worth      Invoiced
                                                                                                                                                 $200
Date
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           Activity
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                                     Document
                                    Duration Total
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           Amended petition to included defamation claim and facts. MA to call client and clarify date discrepancies. Th to discuss defamation retraction issue re:
           DL

03/09/2022 Demand Letter            $200.00/hr     1.00          $200.00     Yes          Tony Jones v. City of Fort Worth        Invoiced    $200
           New demand letter alleging defamation with malice (basis for code harassment suits in Texas), including demand for retraction.

03/09/2022 Draft Document           $200.00/hr     0.30          $60.00      Yes          Tony Jones v. City of Fort Worth        Invoiced

           Amended petition to include defamation damage law.                                                                          $60
03/15/2022 Review Document          $200.00/hr     0.10          $20.00      Yes          Tony Jones v. City of Fort Worth        Invoiced

           Reviewed arraignment setting notie from City of fort worth

04/19/2022 Conference               $200.00/hr     0.10          $20.00      Yes          Tony Jones v. City of Fort Worth        Invoiced

           Spoke with MA and WN re: petition status. Its ready to file. MA to file.

04/21/2022 Review Document          $200.00/hr     0.20          $40.00      Yes          Tony Jones v. City of Fort Worth        Invoiced

           Reviewed Def's Answer. Based on affirmative defenses, it looks like they plan to file a ptj.

04/28/2022 Review Document          $200.00/hr     0.10          $20.00      Yes          Tony Jones v. City of Fort Worth        Invoiced

           Reviewed Federal Court's Order Requiring Scheduling Conference and report for Contest of scheduling Order. MA to set up conference with counsel
           for City, but no counsel has appeared for the defamers yet. Conference and prop scheudling order due on May 12

05/09/2022 Discovery                $200.00/hr     0.20          $40.00      Yes          Tony Jones v. City of Fort Worth        Invoiced

           Drafted initial disclosures. Passed to KF to add addresses and grammar check.

05/13/2022 Case Status Check        $200.00/hr     0.10          $20.00      Yes          Tony Jones v. City of Fort Worth        Invoiced

           Need to draft joint status report

05/16/2022 Case Status Check        $200.00/hr     0.10          $20.00      Yes          Tony Jones v. City of Fort Worth        Invoiced

           Joint status report from other side has been signed off on.

05/25/2022 Case Status Check        $200.00/hr     0.10          $20.00      Yes          Tony Jones v. City of Fort Worth        Invoiced

           TH to draft discovery.

06/16/2022 Conference               $200.00/hr     0.30          $60.00      Yes          Tony Jones v. City of Fort Worth        Invoiced

           MA updated TH on citations.                                             MA has reminded client
                         TH to revised with WN on 6/20

06/20/2022 Case Status Check        $200.00/hr     0.20          $40.00      Yes          Tony Jones v. City of Fort Worth        Invoiced

           Updated WN on case status. Need discovery. TH to offload drafting to ER.

06/22/2022 Conference               $200.00/hr     0.30          $60.00      Yes          Tony Jones v. City of Fort Worth        Invoiced

           TH briefed ER re: discovery

07/13/2022 Hourly Case Work         $200.00/hr     0.50          $100.00     Yes          Tony Jones v. City of Fort Worth        Invoiced

           Reviewed citation status and conferred with WN about talking to OC and client about negotiated settlement with Fort Worth and focusing on neighbors.

07/14/2022 Discovery                $200.00/hr     1.00          $200.00     Yes          Tony Jones v. City of Fort Worth        Invoiced

           Reviewed responsive docs from City in anticipation of meting with client tomorrow. Also review miscellaneous folder.

07/15/2022 Meeting                  $200.00/hr     0.90          $180.00     Yes          Tony Jones v. City of Fort Worth        Invoiced

           Met with Client

07/18/2022 Phone Call               $200.00/hr     0.10          $20.00      Yes          Tony Jones v. City of Fort Worth        Invoiced

           Discussed documents client is bringing over and family connections between private parties and code compliance.

07/18/2022 Phone Call               $200.00/hr     0.10          $20.00      Yes          Tony Jones v. City of Fort Worth        Invoiced

           TH spoke with client.



           TH and WN conferred. WN to talk to OC


07/29/2022 Research                 $200.00/hr     3.00          $600.00     Yes          Tony Jones v. City of Fort Worth        Invoiced

           Researched and drafted an argument on probable cause per the client's request from the meeting.

08/11/2022 Case Status Check        $200.00/hr     0.30          $60.00      Yes          Tony Jones v. City of Fort Worth        Invoiced

                                                                           WN to talk to client and then to OC re: settelment. If no progress on those fronts need
           discovery.
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 08/29/2022 Conference                  $200.00/hr       0.30          $60.00      Yes       Tony Jones v. City of Fort Worth       Invoiced

                                                                         TH to draft discovery on FW. GH to draft DJs against both individual defendants.

 09/08/2022 Review Document             $200.00/hr       0.40          $80.00      Yes       Tony Jones v. City of Fort Worth       Invoiced

               Reviewed Motion to dismiss filed by OC.

 09/12/2022 Conference                  $200.00/hr       0.20          $40.00      Yes       Tony Jones v. City of Fort Worth       Invoiced

               TH conferred with WN. SN to start 12b6 and pass to TH when SN leaves on vacation.

 09/15/2022 Case Status Check           $200.00/hr       0.10          $20.00      Yes       Tony Jones v. City of Fort Worth       Invoiced

               The client says that his neighbor,
                                                                   WN to call client.

 09/16/2022 Draft Document              $200.00/hr       1.00          $200.00     Yes       Tony Jones v. City of Fort Worth       Invoiced

               Draft default judgment. Need to confer with WN.                                                                      $200
 09/21/2022 Case Status Check           $200.00/hr       0.10          $20.00      Yes       Tony Jones v. City of Fort Worth       Invoiced

               Confirmed SN still on 12b6 response.

 09/26/2022 Case Status Check           $200.00/hr       0.20          $40.00      Yes       Tony Jones v. City of Fort Worth       Invoiced

               KF drafting expert designations for WN to file. TH working on DJ and SN working on 12b6 response.

 09/26/2022 Review Document             $200.00/hr       0.10          $20.00      Yes       Tony Jones v. City of Fort Worth       Invoiced

               Reviewed expert designation and passed to WN.

 09/28/2022 Edit Document               $200.00/hr       1.00          $200.00     Yes       Tony Jones v. City of Fort Worth       Invoiced

               Sanity check 12b6 response

 10/04/2022 Draft Document              $200.00/hr       0.50          $100.00     Yes       Tony Jones v. City of Fort Worth       Invoiced

               Drafted Motion for leave to amend.

 10/05/2022 Case Status Check           $200.00/hr       0.20          $40.00      Yes       Tony Jones v. City of Fort Worth       Invoiced

               Need to file motion for leave to amend. Also need to settle on a mediator. MA on mediator.

 10/10/2022 Case Status Check           $200.00/hr       0.10          $20.00      Yes       Tony Jones v. City of Fort Worth       Invoiced

               12b6 response and amended complaint have been filed. Waiting on FW's next move.

 10/12/2022 Review Document             $200.00/hr       0.10          $20.00      Yes       Tony Jones v. City of Fort Worth       Invoiced

               Reviewed amended 12b6 response filed by FW. MA to calendar resposne date.

 10/12/2022 Draft Document              $200.00/hr       1.00          $200.00     Yes       Tony Jones v. City of Fort Worth       Invoiced

               Began drafting response to City's amended 12b6. Drafted full response under class of one issue, but need to finish due process defense.



Expenses


This user has no expenses for the selected period.




          User
                            Billable Flat Fees        Billable Hours     Total Billable Amount    Billable Expenses      Non-Billable Expenses       Non-Billable Hours
                            $0.00                     0.00 hours         $0.00                    $0.00                  $0.00                       0.00 hours


Flat Fees

This user has no flat fees for the selected period.

Time Entries


This user has no time entries for the selected period.

Expenses


This user has no expenses for the selected period.
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          User
                            Billable Flat Fees        Billable Hours    Total Billable Amount    Billable Expenses    Non-Billable Expenses    Non-Billable Hours
                            $0.00                     0.00 hours        $0.00                    $0.00                $0.00                    0.00 hours


Flat Fees

This user has no flat fees for the selected period.

Time Entries

This user has no time entries for the selected period.

Expenses

This user has no expenses for the selected period.




          User
                              Billable Flat Fees       Billable Hours    Total Billable Amount    Billable Expenses    Non-Billable Expenses    Non-Billable Hours
                              $0.00                    0.00 hours        $0.00                    $0.00                $0.00                    0.00 hours


Flat Fees

This user has no flat fees for the selected period.

Time Entries

This user has no time entries for the selected period.

Expenses

This user has no expenses for the selected period.




          User
                            Billable Flat Fees        Billable Hours    Total Billable Amount    Billable Expenses    Non-Billable Expenses    Non-Billable Hours
                            $0.00                     0.00 hours        $0.00                    $0.00                $0.00                    0.00 hours


Flat Fees

This user has no flat fees for the selected period.

Time Entries

This user has no time entries for the selected period.

Expenses

This user has no expenses for the selected period.




          User
                            Billable Flat Fees        Billable Hours     Total Billable Amount    Billable Expenses    Non-Billable Expenses    Non-Billable Hours
                            $0.00                     14.20 hours        $2,840.00                $0.00                $0.00                    0.00 hours


Flat Fees
              Case 4:22-cv-00359-O Document 33 Filed 01/12/23
This user has no flat fees for the selected period.                                                               Page 33 of 35 PageID 343
Time Entries


 Date          Activity               Rate             Duration        Total       Billable     Case Link                              Status       Inner-office Notes

 09/12/2022 Research                  $200.00/hr       3.00            $600.00     Yes          Tony Jones v. City of Fort Worth       Invoiced

               Read pleadings and evidence, listened to recordings, scanned through emails

 09/14/2022 Draft Document            $200.00/hr       3.20            $640.00     Yes          Tony Jones v. City of Fort Worth       Invoiced

               Began draft of response, described property, began shell defenses on claims, mostly 4th amendment search's claims and citation work to set up 14th
               amendment claim bolstering

 09/27/2022 Draft Document            $200.00/hr       4.00            $800.00     Yes          Tony Jones v. City of Fort Worth       Invoiced

               Talk to W regarding drafts, finish up 4th amendment case law search, review 12b6 again, begin drafting amended complaint and revising 12b6
               response

 09/28/2022 Draft Document            $200.00/hr       4.00            $800.00     Yes          Tony Jones v. City of Fort Worth       Invoiced

               Finish drafting 12b6 response and amended complaint



Expenses


This user has no expenses for the selected period.




          User
                              Billable Flat Fees      Billable Hours       Total Billable Amount       Billable Expenses      Non-Billable Expenses      Non-Billable Hours
                              $0.00                   7.00 hours           $3,093.75                   $0.00                  $0.00                      0.00 hours


Flat Fees

This user has no flat fees for the selected period.

Time Entries


 Date            Activity                 Rate            Duration       Total           Billable   Case Link                            Status       Inner-office Notes

 04/19/2022      Draft Petition          $425.00/hr       0.75           $318.75         Yes        Tony Jones v. City of Fort Worth     Invoiced

                 Revise and last review of petitoin.

 04/20/2022      Hearing, Attend.        $425.00/hr       1.50           $637.50         Yes        Tony Jones v. City of Fort Worth     Invoiced

                 Arraignment hearing

 08/30/2022      Phone Call              $450.00/hr       0.25           $112.50         Yes        Tony Jones v. City of Fort Worth     Invoiced

                 Phone discussing injunction and inspection.

 08/30/2022      Email                   $450.00/hr       0.20           $90.00          Yes        Tony Jones v. City of Fort Worth     Invoiced

                 Email to OC;

 09/27/2022      Review Document         $450.00/hr       0.30           $135.00         Yes        Tony Jones v. City of Fort Worth     Invoiced

                 Reviewed and filed designation of experts. Reviewed and approved App for Entry of Default. MEA to file.

 09/28/2022      Draft Response          $450.00/hr       2.75           $1,237.50       Yes        Tony Jones v. City of Fort Worth     Invoiced

                 Review and revise response and complaint, file.

 10/04/2022      Draft Motion            $450.00/hr       1.25           $562.50         Yes        Tony Jones v. City of Fort Worth     Invoiced

                 Reviewed and revised motion to amend, email with nonopposition by KL.



Expenses


This user has no expenses for the selected period.
              Case 4:22-cv-00359-O Document 33 Filed 01/12/23                                                Page 34 of 35 PageID 344
          User
                            Billable Flat Fees        Billable Hours     Total Billable Amount    Billable Expenses      Non-Billable Expenses       Non-Billable Hours
                            $0.00                     0.00 hours         $0.00                    $0.00                  $0.00                       0.00 hours


Flat Fees

This user has no flat fees for the selected period.

Time Entries

This user has no time entries for the selected period.

Expenses

This user has no expenses for the selected period.




          User
                            Billable Flat Fees        Billable Hours     Total Billable Amount    Billable Expenses      Non-Billable Expenses       Non-Billable Hours
                            $0.00                     3.50 hours         $700.00                  $0.00                  $0.00                       0.00 hours


Flat Fees


This user has no flat fees for the selected period.

Time Entries


 Date          Activity                Rate              Duration      Total     Billable    Case Link                             Status        Inner-office Notes

 06/22/2022 Hourly Case Work           $200.00/hr        1.50          $300.00   Yes         Tony Jones v. City of Fort Worth      Invoiced

               Discovery Requests drafted in light of information gleaned from the City's responsive documents re our Open Records Requests. Conferred with WVN
               re requesting responsive documents sans redactions.

 06/24/2022 Draft Document             $200.00/hr        1.00          $200.00   Yes         Tony Jones v. City of Fort Worth      Invoiced

               Discovery Requests for Admission drafted regarding Defendant Gilberto Gonzalez's interactions and communications with Defendant City of Fort
               Worth leading up to and during circumstances giving rise to suit.
                                                                                                                                     $100
 06/24/2022 Draft Document             $200.00/hr        1.00          $200.00   Yes         Tony Jones v. City of Fort Worth      Invoiced

               Discovery Requests for Admission drafted regarding Defendant Eulises Gonzalez's interactions and communications with Defendant City of Fort Worth
               leading up to and during circumstances giving rise to suit.
                                                                                                                                     $100

Expenses

This user has no expenses for the selected period.




          User
                            Billable Flat Fees        Billable Hours     Total Billable Amount    Billable Expenses      Non-Billable Expenses       Non-Billable Hours
                            $0.00                     0.00 hours         $0.00                    $0.00                  $32.16                      0.00 hours


Flat Fees


This user has no flat fees for the selected period.

Time Entries

This user has no time entries for the selected period.

Expenses
Date
           Case
           Activity
                    4:22-cv-00359-O
                       Cost  Quantity
                                      Document
                                      Total
                                                  33 Filed
                                            Billable
                                                            01/12/23
                                                     Case Link
                                                                                                    Page 35 of Status
                                                                                                               35 PageID     345
                                                                                                                      Inner-office Notes

09/10/2021 Postage      $32.16     1.0            $32.16     No           Tony Jones v. City of Fort Worth            Invoiced
                                                                                                                                         $16.08
           Demand Letter sent to Christopher Austria Assistant City Attorney City Attorneyâ€™s Office 200 Texas St. Fort Worth, TX 76102 Via Regular Mail and
           Certified Mail Return Receipt Requested CMRRR No. 7020 1290 0000 2470 7368 Christopher.austria@fortworthtexas.gov Eulises Gonzales 4312 Ave
           H. Fort Worth, TX 76105 Via Regular Mail and Certified Mail Return Receipt Requested CMRRR No. 7020 1290 0000 2470 7351 Heliodoro Reyes
           4328 Ave H. Fort Worth, TX 76105 Via Regular Mail and Certified Mail Return Receipt Requested CMRRR No. 7020 1290 0000 2470 7375
